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IN THE UNITED sTATEs DISTRICT CoURT ’?sL// <`Yj' §
FoR THE WESTERN DlsTRICT oF TENNESSEE "/'§’\

 

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff, §
VS. § No. 05-10019-T-An
ISAAC JEROME JONES, §
Defendant. §

 

ORDER GRANTING GOVERNMENT’S MOTION TO DISMISS

 

The Government has filed a motion to dismiss the indictment on the ground that
Defendant has already pled guilty in state court to an offense based on the same conduct that
is the subject of the federal indictment For good cause shown, the motion to dismiss is
GRANTED, and the indictment filed against Defendant is hereby DISMISSED.

IT IS SO ORDERED.

@QMM»M

D. TODD
UN D STATES DISTRICT IUDGE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 12 in
case 1:05-CR-10019 Was distributed by f`aX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

